
PER CURIAM.
We originally accepted jurisdiction to review Johnson v. State Farm Fire and Casualty Co., 451 So.2d 898 (Fla. 1st DCA 1984), in order to resolve conflict with Boynton v. Allstate Insurance Co., 443 So.2d 427 (Fla. 5th DCA 1984). Our recent decision of Allstate Insurance Co. v. Boynton, 486 So.2d 552 (Fla.1986), has re*138solved the conflict. Accordingly, we deny jurisdiction.
It is so ordered.
MCDONALD, C.J., and ADKINS, BOYD, OVERTON, SHAW and BARKETT, JJ„ concur.
